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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

CRAIG MOSKOWITZ, on behalf of                    )
himself on behalf and all others similarly       )
situated                                         )
                                                 )
                      Plaintiff,                 )
                                                 )
               v.                                )    Civil Action No. 3:17 cv 00307
                                                 )
AMERICAN SAVINGS BANK, F.S.B.,                   )    CLASS ACTION
                                                 )
                      Defendant.                 )


                          NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(i), Plaintiff Craig Moskowitz, through his

undersigned attorney hereby voluntarily dismisses this action against Defendant American

Savings Bank, F.S.B., without prejudice, and without costs as to any party.

Dated: May 15, 2017

                                             CRAIG MOSKOWITZ, by


                                             s/ Aytan Y. Bellin
                                             Aytan Y. Bellin (ct28454)
                                             Bellin & Associates LLC
                                             85 Miles Avenue
                                             White Plaines, NY10606
                                             Phone: 914-358-5345
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                                             E-mail: Aytan.Bellin@bellinlaw.com

                                             Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I, Aytan Y. Bellin, certify that on May 15, 2017 I caused to be served the foregoing

document by ECF on all counsel of record.



                                            /s/ Aytan Y. Bellin ________
                                            AYTAN Y. BELLIN, ESQ.
